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           EXHIBIT A
                             Case 1:15-cv-14025-GAO Document 1-1 Filed 12/07/15 Page 2 of 29



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                 SUFFOLK, ss.                                                                                    SUPERIOR COURT DEPARTMENT
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      Case 1:15-cv-14025-GAO Document 1-1 Filed 12/07/15 Page 4 of 29




                      COMMONWEALTH OF MASSACHUSETTS

Suffolk, ss.                                                     Superior Court
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                                                                 Civil No. ~(~'.~           Z~ ~


NICHOLAS A. HAYS,                                 )
               Plaintiff                          )
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v                                                 )
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JEFFERSON CAPITAL
JEFFERSON CAPITAL SYSTEMS,
                   SYSTEMS, LLC,)
               Defendant        )



                             COMPLAINT AND JURY CLAIM

                                     Introductory Statement

          Defendant Jefferson Capital Systems, LLC is engaged in the business of

collecting consumer debts in Massachusetts. The debts which are the subject of

Defendant's collection activities are primarily credit card accounts which it purchases

after default for pennies on the dollar. Under Massachusetts law, and by its own admission,

Defendant is aa"debt
                "debt collector"
                      collector" and
                                 and therefore
                                      therefore must
                                                must obtain a license from the Commissioner of

Banks ("Commissioner") before undertaking collection activity against Massachusetts

consumers. However, for years Defendant has operated as a debt collector in Massachusetts

without a license, subjecting Massachusetts residents to unlawful collection activity and

unlawfully obtaining substantial sums of money from them. Defendant's conduct has not only
unlawfiilly

violated the rights of Massachusetts consumers, but was also criminal in nature. Plaintiff brings

this action seeking disgorgement of monies unlawfully obtained by Defendant, damages, and

declaratory and injunctive relief.
                           relief
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                                            Parties

1. Plaintiff Nicholas A.
   PlaintiffNicholas  A. Hays
                         Hays is
                              is an
                                 an individual
                                    individual who at times relevant to this complaint has

resided in Watertown, Middlesex County Massachusetts.

2. Defendant Jefferson Capital Systems, LLC is a limited liability company organized

under the laws of the State of Georgia and maintaining a principal place of business in St.

Cloud, Minnesota. Defendant conducts business as a debt collector throughout the

Commonwealth of Massachusetts.

  Facts Relating
        RelatinE to
                 to Defendant's
                    Defendant's Business
                                Business Practices,
                                         Practices, and
                                                    and Relevant Principles of Law

3. "Consumer debts" are monetary obligations incurred primarily for personal, family, or

household purposes. G.L. c. 93, §24; 209 CMR 18.02.

4. During times relevant to this complaint Defendant collected and attempted to collect, directly

or indirectly, defaulted consumer debts from Massachusetts residents. The debts which

are the subject of Defendant's collection efforts consist primarily of credit card accounts

which Defendant purchases in bulk for pennies on the dollar. Defendant has regularly

engaged in a number of activities in the course of its debt collection efforts, including but

not necessarily limited to the following:

       (a) Lawsuits on the debts were filed against Massachusetts residents in Massachusetts

courts, with Defendant named as the plaintiff in each case. On information and belief, hundreds

of such lawsuits have been filed.

      (b) Court judgments in favor of Defendant (usually resulting from the consumer's

default) were followed by further collection efforts, such as recording executions against

consumers' homes, filing motions to attach consumers' bank accounts and to garnish

consumers' wages, and filing "supplementary process" complaints against consumers in



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     Case 1:15-cv-14025-GAO Document 1-1 Filed 12/07/15 Page 6 of 29




Massachusetts district courts. On information and belief, hundreds of such actions have

been taken against Massachusetts consumers in Defendant's name.

        (c) Letters seeking payment and/or threatening collection action were sent to

Massachusetts consumers by or on behalf of Defendant.

         (d) Proofs of claim were filed in bankruptcy cases filed by Massachusetts

residents.

5.    Under Massachusetts law, aa"debt
                                 "debt collector"
                                       collector" is defined first as "any person who uses an

instrumentality of interstate commerce or the mails in any business the principal purpose

of which is the collection of a debt." G.L c. 93, §24. Defendant has used and continues

to use the mails, telephone lines, the electrical grid, wireless communication systems, and

other instrumentalities of interstate commerce to evaluate and purchase defaulted debts

for purposes of collection, to attempt to collect and to collect debts, and to engage

persons and entities to assist in collecting debts for Defendant, and Defendant's

collection of the debts constitutes its principal (if not only) source of income. If

Defendant sells or assigns any purchased debts, Plaintiff alleges on information and belief that

this only occurs after Defendant has determined
                                     deternuned that collection efforts are not economically

viable. Indeed, in its registration application as a foreign limited liability company filed with the

Secretary of the Commonwealth and in its annual reports filed with the Secretary, Defendant

describes the "general character of its business" as "debt collection." Accordingly, Defendant is

a "debt collector"
a"debt  collector" under
                   under Massachusetts
                         Massachusetts law.

6.    Under Massachusetts law,
                          law, aa"debt
                                 "debt collector"
                                       collector" is also defined as a person "who

regularly collects or attempts to collect, directly or indirectly, a debt owed or due or asserted

to be owed or due another."
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                                   93, §24.
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     Case 1:15-cv-14025-GAO Document 1-1 Filed 12/07/15 Page 7 of 29




collector" does not include "a person collecting or attempting to collect a debt owed or

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which was not in default at the time it was obtained by the person. G.L. c. 93, §24

(emphasis supplied). In an "Industry Letter" issued June 16, 2006, the Commissioner

decreed that entities which seek to collect consumer debts acquired after default — such as

Defendant - are "debt collectors" under this prong of the definition. See Gomes v.

Midland Funding, LLC., 2012 WL 7801376 (Mass. Super. Sept. 19, 2012). The

Commissioner's position is consistent with rulings of the Federal Trade Commission and

a number of federal courts in construing the identical definition of "debt collector" under

the FDCPA. See, e.g., Ruth v. Triumph Partnerships, 577 F.3d 790. 797 (7th Cir. 2009);

FTC v. Check Investors, Inc., 502 F.3d 159, 173-174 (3rd Cir. 2007).

7.   The Massachusetts licensing statute provides important protections for

Massachusetts consumers. Before
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                                                 as aa"debt
                                                      "debt collector," an applicant and

its officers and directors must demonstrate to the Commissioner's satisfaction that their

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will be operated lawfully, honestly and fairly." G.L. c. 93, §24B(a). Thus, for example,

the Commissioner may deny a license if the applicant does not have a positive net worth;

has violated any state or federal law governing debt collection practices; has defaulted on

a debt; has committed any dishonest or deceptive act bearing on the applicant's fitness to

function as a debt collector; or has an adverse credit history. 209 CMR 18.04(2)(a); 209

CMR 18.042)(a)— (f). Debt collection licenses are issued for one-year terms (G.L. c. 93,

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§2413(b)), andupon
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    Case 1:15-cv-14025-GAO Document 1-1 Filed 12/07/15 Page 8 of 29




the Commissioner to determine whether it is complying with the requirements of chapter 93

and all laws and regulations covering debt collection practices in Massachusetts. G.L. c. 93,

§24D.

8. A failure to comply with the Massachusetts licensing statute constitutes a per se violation of

G.L. c. 93A, §2. G.L. c. 93, §28. Such failure also constitutes a criminal offense. Id
                                                                                    Id.

9. At no time relevant to this complaint was Defendant licensed as a debt collector in

Massachusetts. Therefore, all of the collection activity directed at Massachusetts

consumers as set forth in paragraph 4, above, violated G.L. c. 93, §§24-28 and G.L. c.

93A, §2. In addition, all such collection activity violated 209 CMR 18.16, which

prohibits "the use of any false, deceptive, or misleading representation or means in

connection with the collection of any debt," and 209 CMR 18.16(5), which prohibits "the

threat to take any action that cannot legally be taken." A violation of any of the

Commissioner's regulations constitutes a per se violation of G.L. c. 93A, §2. 209 CMR

18.22. Finally, all actions taken by Defendant in violation of the licensing statute were

criminal in nature:

               Whoever fails to comply with any provisions of this section
               or sections twenty-four to twenty-seven, inclusive, or any
               regulation promulgated in accordance with the provisions of
               section twenty-four, shall be punished by a fine of not more
               than five hundred dollars or by imprisonment for not more
               than three months, or both.

G.L. c. 93, §28. Thus, all judgments obtained by Defendant which are based on defaulted

consumer debts are null and void. See Finch v. LVNV Funding LLC., 212 Md. App. 748, 761,

71 A.3d 193, 200 (Md.
        193,200  (Md. Court
                      Court Sp. Appeal 2013).

10. A large number of Massachusetts consumers against whom Defendant threatened or

took collection action paid money to Defendant. In addition, many of these consumers


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      Case 1:15-cv-14025-GAO Document 1-1 Filed 12/07/15 Page 9 of 29




paid money to attorneys for legal representation in defending against Defendant's actions.

11. At present Defendant continiues
                         continues to
                                    to engage
                                       engage in
                                               in unlicensed
                                                  unlicensed debt
                                                             debt collection
                                                                  collection activity

against Massachusetts consumers, causing them financial loss and other harm.

Massachusetts consumers have been injured and will continue to be irijured
                                                                  injured by Defendant's

unlawful conduct unless this Court issues appropriate relief.

                                 Facts Relating to Plaintiff

12. Defendant, through counsel, sent Plaintiff one or more letters seeking to collect an

alleged defaulted consumer debt which originated as an "Aspire" credit card account.

Defendant then filed suit against Plaintiff in the Cambridge District Court, Small Claims

Department.

13. Plaintiff retained counsel to represent him in the Cambridge District Court collection

action, and incurred legal fees as a result. Counsel filed an answer to Defendant's claim

on behalf of Plaintiff. Defendant voluntarily dismissed its collection suit prior to the date

of the scheduled small claims hearing.

14.    At the time the above-referenced collection letters were sent and at the time the

above lawsuit was filed,
                  filed, Defendant
                         Defendant was
                                   was aa"debt
                                         "debt collector" under both prongs of the

definition set forth in G.L c. 93, §24.

15. At the time the above-referenced collection letters were sent and at the time the

lawsuit was filed, and continuing through the present, Defendant was not licensed as a

"debt collector" by the Commonwealth of Massachusetts.

                      COUNT I: Declaratory and Injunctive Relief

16.     The allegations of paragraphs
                           paragraphs 11-- 15
                                           15 are incorporated herein by reference as if

fully set forth.



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   Case 1:15-cv-14025-GAO Document 1-1 Filed 12/07/15 Page 10 of 29




17.
17. At all times relevant to this complaint Defendant was required to be licensed by

the Massachusetts Division of Banks as a debt collector, but Defendant was never so

licensed.

18. All actions taken by Defendant against Massachusetts residents, directly or indirectly, in

attempting to collect and iln collecting consumer debts acquired after default, including but not

limited to the actions set forth in paragraph 4, above, were unlawful. Moreover, each lawsuit

filed against a Massachusetts consumer constituted a criminal act and a fraud on the court, hence

each judgment awarded to Defendant is null and void.

19. Defendant's conduct caused harm
                               haml to Massachusetts consumers by, inter
                                                                   inter alia,
                                                                         alig subjecting them
                                                                                         them,

to unlawful collection actions and by unlawfully obtaining monies from them.

20.   There is a controversy between the parties regarding the legality of Defendant's debt

collection practices and the validity of court judgments obtained by Defendant.

                                       Class Allegations

21. Plaintiff brings Count I on behalf of himself and a class of other persons similarly

situated. The class consists of all Massachusetts residents against whom Defendant,

within four (4) years of the filing of this action, directly or indirectly took any of the

actions set forth in paragraph 4, above, to collect a consumer debt acquired by Defendant

after default Excluded from the class are all past and present employees, agents,

officers, and directors of Defendant, and persons who have released Defendant from

liability. On information and belief, there are at least one hundred class members,

making joinder impracticable.

22. There are questions of law and fact common to the class, which common issues

predominate over any issues peculiar to individual class members. The principal common



                                                 7
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issues are: (a) whether Defendant
                        Defendant was
                                  was required
                                      required to
                                                to be
                                                   be licensed
                                                       licensed as
                                                                as aa"debt
                                                                     "debt collector" in

Massachusetts; (b) whether Defendant's unlicensed collection actions violated

Massachusetts law; (c) whether judgments obtained by Defendant in violation of the

Massachusetts licensing statute are void; and (d) whether Defendant's ill-gotten gains

from its unlicensed collection actions are subject to disgorgement. The only individual

questions involve the specific amounts of money to be awarded to each class member,

which can be addressed and resolved through a ministerial review of relevant records.

23. Plaintiff
    Plaintiff'ss claim is typical of the claims of class members. All claims are

based on the same legal theory, and all arise from the same course of conduct.

24. Plaintiff will fairly and adequately protect the interests of all class members.

Plaintiff is committed to a vigorous and successful prosecution of this action, is familiar

with the legal and factual issues involved, and has retained counsel experienced in the

litigation of consumer rights cases, including consumer class actions. Neither Plaintiff

nor counsel have any interest or conflict that might cause them to not vigorously pursue

this action.

25. A class action is superior to other available methods for the fair and efficient adjudication

of this controversy, since: (a) the financial losses suffered by a substantial number of

class members are such that it would be economically unfeasible for them to individually

litigate their claims; (b) the factual and legal issues common to all class members far

outweigh any individual questions; (c) the prosecution of separate lawsuits by individual

class members would entail the risk of inconsistent and conflicting adjudications; and (d)

there will be no unusual or extraordinary management difficulties in administering this

case as a class action.



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        WHEREFORE, Plaintiff
                   Plaintiffprays
                             prays that this Court enter judgment:

        (a) declaring Defendant's unlicensed.
                                  unlicensed debt
                                              debt collection
                                                   collection activities
                                                              activities directed against Plaintiff

            and the class to be in violation of Massachusetts law;

        (b) declaring all judgments obtained by Defendant against class members within four

            (4) years of the filing of this action to be null and void;

        (c) declaring all executions, liens, attachments, garnishments, levies, and

            asset seizures resulting from said judgments to be null and void;

        (d) ordering Defendant to disgorge all monies obtained from or on behalf of class

            members due to its unlawful collection activities;

        (e) ordering Defendant to take all necessary steps, within thirty (30) days of judgment,

            to have all pending lawsuits and all pending post-judgment
                                                         post judgment collection actions

            against class members dismissed;

        (f) enjoining Defendant from attempting to collect or collecting any defaulted

            consumer debt in Massachusetts without a license as required by law;

        (g) ordering such further relief as shall be just and proper.

                                  COUNT II: Unjust Enrichment

26.     The allegations of paragraphs
                           paragraphs 11—
                                        — 25
                                          25 are incorporated herein by reference as if

fully set forth.

27.     Defendant has been unjustly enriched by obtaining monies from Massachusetts

consumers as a result of one or more of the unlawful debt collection activities described

in paragraph 4, above.

                                         Class Allegations

    Plaintiff brings Count
28. Plaintiffbrings  Count III
                            III on
                                on behalf
                                   behalf of
                                          of himself
                                             himself and a class of other persons similarly



                                                    9
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situated. The class consists of all Massachusetts residents from whom or on whose

behalf Defendant received, within three (3) years of the filing of this action, any money

toward payment of a consumer debt acquired after default (including interest, costs, and

attorney's fees) resulting from any of the activities set forth in paragraph 4 and/or 15

above, whether taken directly or indirectly by Defendant. Excluded from the class are all

past and present employees, agents, officers, and directors of Defendant, and persons who

have released Defendant from liability. On information and belief, there are at least one

hundred class members, making joinder impracticable.

29. There are questions of law and fact common to the class, which common issues

predominate over any issues peculiar to individual class members. The principal

common issues are whether Defendant's unlawful collection actions as set forth in

paragraphs 4 and/or 15 violated Massachusetts law. The only individual questions involve

the specific amounts of money to be awarded to each class member, which can be addressed and

resolved through a ministerial review of relevant records.

30.     Plaintiffs claims
        PlaintifPs claims are
                          are typical
                               typical of
                                       of the
                                          the claims
                                              claims of class members. All claims are

based on the same legal theory, and all arise from the same course of conduct.

    Plaintiff will fairly
31. Plaintiffwill   fairly and
                           and adequately
                               adequately protect the interests of all class
                                                                       class members.
                                                                             members. Plaintiff is
                                                                                      Plaintiffis

committed to a vigorous and successful prosecution of this action, is familiar with the legal and

factual issues involved, and has retained counsel experienced in the litigation of consumer rights

cases, including consumer class actions. Neither Plaintiff nor counsel have any interest or

conflict that might cause them to not vigorously pursue this action.

32.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy, since: (a) the financial losses suffered by a substantial



                                                  10
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number of class members are such that it would be economically unfeasible for them to

individually litigate their claims; (b) the factual and legal issues common to all class

members far outweigh any individual questions; (c) the prosecution of separate lawsuits

by individual class members would entail the risk of inconsistent and conflicting

adjudications; and (d) there will be no unusual or extraordinary management difficulties

in administering this case as a class action.

           WHEREFORE, Plaintiff prays that this Court enter judgment:

       (a) awarding damages to Plaintiff and class members;

       (b) awarding interest, costs, and reasonable attorney's fees;

       (c) ordering such further relief as shall be just and proper.


     PLAINTIFF REQUESTS TRIAL BY JURY.




                                       Plaintiff, by his attorneys:




                                       Kenneth D. Quat
                                       BBO#408640
                                       QUAT LAW OFFICES
                                       929 Worcester Rd.
                                       Framingham MA 01701
                                       508-872-1261
                                       ken@quatlaw.com




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                          Jose
                          JosefI C.
                                 C. Culik
                                    Culi
                                                         Jq)
                          BBO#672665
                          CULIK LAW, P.C.
                          18 Commerce Way, Suite 2850
                          Woburn MA 01801
                          617-830-1795
                          jculik@culiklaw.com




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                    COMMONWEALTH OF MASSACHUSETTS

Suffolk, ss.                                                 Superior Court
                                                             Civil No. 15-3098-BLS2


NICHOLAS A. HAYS,               )
               Plaintiff        )
                                )
v.
V.                             ))
                                )
                                )
JEFFERSON CAPITAL SYSTEMS, LLC,)
               Defendant       )



               PLAINTIFF'S MOTION FOR CLASS CERTIFICATION

       Plaintiff Nicholas A. Hays commenced this action seeking relief on behalf of

himself and all others similarly situated due to Defendant's collection and attempted

collection of consumer debts in Massachusetts without being licensed as a debt collector

pursuant to G.L. c. 93, §24A.

       Plaintiff moves that this Honorable Court certify the classes defined in the

Complaint pursuant to Mass. R. Civ. P. 23 or such other classes or subclasses as may be

appropriate. However, for the reasons set forth below, Plaintiff also requests that the

Court defer briefing and ruling on the motion until the parties have had an adequate

opportunity to conduct discovery into matters bearing on the appropriateness of class

certification. Deferral is further warranted because Plaintiff anticipates amending the

Complaint to include claims under G.L. c. 93A.




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                                            ARGUMENT

                  Preliminary Statement: The Possibility of a"Pick-Offl'
                                                            a "Pick-Off'

        No Massachusetts appellate court has yet opined on the issue of whether a

defendant can essentially terminate a class action by "picking off' the named plaintiff,

i.e., tendering a settlement offer for full individual relief. The trial court decision which

appears to be most closely on point was rendered by Chief Justice Gants in Meaney v.

OneBeacon Insurance Group, LLC, 2007 WL 5112809 (Mass. Super. Ct. June 12, 2007).

There, a class of persons who had prevailed against an insurer in arbitration sought to

recover unpaid post-arbitration interest. The Court rejected the proposition that a

settlement offer made to the individual plaintiff mooted class members' claims,

explaining:

                 Safety [the insurer] may not avoid a class action simply by paying
                 the amount due to the named plaintiff.
                                                  plaintif£ The plaintiffs in their complaint
                 have raised a significant
                                 significant legal
                                              legalclaim
                                                    claimwhich
                                                           whichisisentitled
                                                                      entitledtotoresolution.
                                                                                       resolution.. .....
                 Safety cannot evade resolution of this legal question, involving small
                 amounts of money for each individual insured but larger amounts of
                 money for the putative class ... simply by paying interest to the named
                 plaintiff, since the plaintiff seeks to act on behalf of the class of insureds
                 similarly situated. Rather, Safety can evade resolution of this issue only
                 if Safety
                    Safety were
                            were to
                                  to commit
                                     committotopaying
                                                 payinginterest
                                                          interesttotoallallitsitsinsureds
                                                                                    insureds. .....
                                                                                                ..

Id., at *2.

        In the federal courts, it has been noted that "[t]he circuits are split on whether a

              'pick off
defendant may `pick off the
                        the named
                            named plaintiffs in a class action. The split is most clearly

exemplified in cases where courts have compelled acceptance of a settlement offer under

Federal Rule of Civil Procedure 68." Hermida v. Archstone, 950 F.Supp.2d 298, 309, n.

1 (D. Mass.
1(D.  Mass. 2013).
            2013). Thus,
                   Thus, the Third,' Fifth,2 Ninth,3 and Tenth4 Circuit Courts of Appeals


  Weiss v.
1 Weiss v. Regal
           Regal Collections, 385 F.3d 337, 347-48 (3d Cir.2004)


                                                    2
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have held that rejection of a Rule 68 offer made to a putative class representative does not

                             Second,s Third,6 and Sixth7Circuits
moot class claims, while the Second,5                   Circuits have
                                                                 have held
                                                                      held to
                                                                           to the

contrary. The Seventh Circuit has adopted a middle ground, concluding that a settlement

offer can moot the claim of a putative class representative only if it is made prior to the

filing of a motion for class certification. Damasco v. Clearwire Corp., 662 F.3d 891 (7th

Cir. 2011). Recognizing the dilemma faced by class action plaintiffs, the Damasco court

suggested that such plaintiffs "move to certify the class at the same time that they file

their complaint. The pendency of that motion protects a putative class from attempts to

buy off the named plaintiffs." Id. However, also recognizing that class certification

motions are often not ripe for adjudication at the early stages of a case, the Court further

suggested that class action plaintiffs "also ask the district court to delay its ruling to

provide time for additional discovery or investigation."
                                         investigation." /d.8
                                                         Id. g

           In view of the facts that there is no binding Massachusetts precedent and that the

Seventh Circuit's approach could ultimately be adopted by the Supreme Judicial Court,

Plaintiff files this motion out of an abundance of caution in order to safeguard the


   Sandoz v. Cingular Wireless LLC, 553 F.3d 913, 920-21 (5th Cir.2008)
'2 Sandoz

3   Pitts v. Terrible Herbst, Inc., 653 F.3d 1081, 1092 (9th Cir.2011)

4   Lucero v. Bureau
              Bureau of Collection Recovery, Inc., 639 F.3d 1239, 1249 (10th
                     ofCollection                                      (lOth Cir.2011)

5   Abrams v. Interco Inc., 719 F.2d 23, 32 (2d Cir.1983)

6   Weiss
    Weiss v.
          v. Regal
             Regal Collections, 385 F.3d 337, 347-48 (3d Cir.2004)

          v. Ed Donnelly Enters., Inc., 575 F.3d 567, 572 (6th Cir.2009)
  O'Brien v.
' O'Brien

$ The
8 The issue
       issue in
              in the
                  the federal
                       federal courts
                               courts is
                                       is further
                                          further muddied
                                                  muddied by
                                                          by the Supreme Court's decision in Genesis Healthcare
                                                             the Supreme
v. Symczyk, 133 S. Ct. 1523 (2013). The Court did not reach the precise issue of whether defendant's Rule
68 offer mooted a putative class representative's claim, because the plaintiff conceded that it did, but then
held that since the plaintiffs individual claim was mooted, the case must be dismissed without
consideration of the fact that it was brought as a class action. Id. at 1529. However, the Court currently
has under consideration the case of Campbell-Weald Company v. Gomez, which may resolve the split
amongst the federal courts.

                                                        3
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interests of the putative class members as defined in the complaint. As shown below, it is

apparent from the information already known that this case will be determined to be

suitable for class treatment. However, because the case is still in its infancy, Plaintiff

asks that the Court defer its ruling on the instant motion and establish an appropriate

schedule for discovery and briefing on class certification issues.

I.      CLASS ACTIONS ARE FAVORED IN MASSACHUSETTS.

        The class action is a procedural device whose purpose is "the avoidance of

unnecessary duplicative litigation, saving both court and litigant time." Bouchard v. Sec.

of Health & Human Services, 1982 WL 594675*5 (D. Mass. Jan. 11, 1982). Thus,

Massachusetts courts have expressed a preference for the maintenance of class actions

where appropriate. See, e.g., Weld v. Glaxo Wellcome, Inc., 434 Mass. 81, 93

(2001)(public policies of judicial efficiency and access to the courts "underlie the

consumer class action suit," which "aggregates numerous small claims into one action,

whose likely range of recovery would preclude any individual plaintiff from having his or

her day in court"); Leardi v. Brown, 394 Mass. 151, 164 (1985)(noting the importance of

the class action as "a device for vindicating claims which taken individually, are too

small to justify legal action but which are of significant size if taken as a group")(internal

quotation and citations omitted). Thus, although a judge has "broad discretion" in

deciding a motion for class certification (Brophy v. School Committee of Worcester, 6

Mass. App. 731, 735 (1978)), this discretion "is not without limits; it must be exercised in

accord with the purposes sought to be achieved by class actions." Sniffen v. Prudential

Ins. Co. of America, 11 Mass. App. Ct. 714, 723 (1981).
                                       714,723  (1981). As a result, any doubts should

be resolved "in favor and not against maintenance of the class action." Payne v.



                                               4
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Goodyear Tire & Rubber Co., 216 F.R.D. 21, 25 (D. Mass. 2003)(internal quotation

omitted).

         In determining whether to certify a class, the merits of the case are not examined

and the substantive allegations of the complaint should be taken as true. Eisen v. Carlisle

& Jacquelin, 417 U.S. 156, 177 (1974). See Weld, 434 Mass. at 87 n.8. The only proper
&.Jacquelin,

inquiry is whether, assuming Plaintiff's
                             Plaintiffs allegations
                                         allegations to
                                                     to be
                                                        be true,
                                                           true, the
                                                                 the claims are suitable for

treatment as a class action. Blackie v. Barrack, 524 F. 2d 891, 901, n. 16 (9th
                                                                           (9t" Cir.
                                                                                Cir. 1975).

Thus, certification is proper so long as the Court is presented with information "sufficient

to enable the motion judge to form a reasonable judgment that the class meets the

requirements." Weld., at 87. Accordingly, "neither the possibility that a plaintiff will be

unable to prove his allegations, nor the possibility that the later course of the suit might

unforeseeably prove the original decision to certify the class wrong, is a basis for

declining to certify a class which apparently satisfies the Rule." Id. (citation and internal

quotation omitted).

         As the following discussion makes clear, the proposed classes meet all of the

requirements for certification and Plaintiff
                                   Plaintiffss motion
                                               motion should
                                                      should therefore
                                                             therefore be allowed.

II.      THE PROPOSED CLASSES SATSIFY ALL CRITERIA FOR
         CERTIFICATION.

         A.      The proposed class definitions

         For purposes of this motion, the declaratory judgment class is defined as follows:

                 [A]ll
                 [A]11Massachusetts
                        Massachusettsresidents
                                         residentsagainst
                                                   againstwhom
                                                           whom Defendant,
                                                                   Defendant, within
                                                                               within four
                                                                                      four (4)
                 years of the filing of this action, directly or indirectly took any of the
                 actions set forth in paragraph 4 of the Complaint to collect a consumer
                 debt acquired by Defendant after default Excluded from the class are all
                 past and present employees, agents, officers, and directors of Defendant,
                 and persons who have released Defendant from liability.



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See Complaint, ¶21. The proposed definition of the unjust enrichment class is:

                  all Massachusetts residents from whom or on whose behalf
                  Defendant received, within three (3) years of the filing of this
                  action, any money toward payment of a consumer debt acquired
                  after default (including interest, costs, and attorney's fees) resulting
                  from any of the activities set forth in paragraph 4 of the Complaint,
                  whether taken directly or indirectly by Defendant. Excluded from
                  the class are all past and present employees, agents, officers, and
                  directors of Defendant, and persons who have released Defendant
                  from liability.

See Complaint, ¶28. The time frame for each class is properly limited by the applicable

statute of limitations, and class members are ascertainable from Defendant's own records;

hence, the classes are amenable to certification.9

         B.       The proposed classes satisfy the numerosity requirement.
                                                              reguirement.

         Under Mass. R. Civ. P. 23(a), a class must be "so numerous that joinder of all

members is impracticable." As used in this Rule, "the word impracticable has been

interpreted to mean impractical, unwise or imprudent rather than impossible or incapable

of being performed." Brophy v. School Committee of Worcester, 6 Mass. App. Ct. at 735.

See Duhaime v. John Hancock Mutual Life Ins.
                                        Ins. Co.,
                                             Co., 177
                                                  177 F.R.D. 54, 62 (D. Mass.

1997)(plaintiffs "need only show that it is difficult or inconvenient to join all the

members of the class").

         Here, Plaintiff has alleged that there are at least 100 members in each class.

Complaint, ¶¶21, 28.10 This is more than sufficient to satisfy the numerosity


9Certain courts take the position that the ascertainability of class members is an "implicit" requirement of
9Certain
Rule 23, i.e., it must be administratively feasible to determine whether a particular individual is a class
member. See, e.g., Dononvan>>.
                     Dononvan v. Philip
                                    PhilipMorris
                                          Morris USA, Inc   ., 268
                                                        /izc., 268 F.R.D. 1,
                                                                           l, 99 (D.Mass.20
                                                                                  (D.Mass.2010).  To the extent
                                                                                             10). To
this Court believes this is a prudent or necessary criterion for certification, it has been satisfied here since
all class members who were subjected to collection activity by Defendant during the relevant time periods
are identifiable from Defendant's own records, as well as court records.

t° The actual class sizes are expected to be well over 100, likely in the thousands, given Defendant's
10
prolific collection activities in Massachusetts.

                                                        6
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requirement. As the leading class action authority has stated, a class consisting of 40

members "should meet the [numerosity] test
                                      test on
                                           on that
                                              that fact
                                                   fact alone."
                                                        alone." 33 Newberg on Class

Actions (3rd ed.), p. 3-25. See, also, Swanson v. American Consumer Industries, 415

F.2d 1326, 1333 (7th Cir. 1969)(10-29 class members sufficiently numerous); Riordan v.

Smith Barney, 113 F.R.D. 60 (N.D. Ill. 1986)(certifying class of 20 members).

       C.      There are common Questions
                                guestions of law and fact.

       Under Rule 23(a), certification is only proper if "there are questions of law or fact

common to the class." To satisfy this element, Plaintiff need only demonstrate that

"resolution of the common questions affect all or a substantial number of class

members." Duhaime, 177 F.R.D. at 62 (citation and internal quotations omitted). Thus,

                                a low hurdle' easily surmounted." Id. at 63, quoting
the commonality requirement "is a`low

                                                  Cir. 1986). As this Court has
                                             (5t' Cir.
Jenkins v. Raymark Indus., 782 F.2d 468, 472 (5th

declared: "The plaintiffs need not show that the interest of each member of the class is

identical to the others in all respects, [only] that they arise out of a common relationship

to a definite wrong." Salvas v. Wal-Mart Stores, Inc., 2004 WL 3218424, at *3 (Mass.

Super. Ct. Dec. 30, 2004). In the present case there are myriad common issues of law

and fact which demonstrate that class treatment is appropriate under Rule 23, including

but not limited to:

               (i)     whether Defendant was required to be licensed as "debt collector"
                       in Massachusetts;

               (ii)    whether Defendant's unlicensed debt collection activities violated
                       Massachusetts law;

               (iii)   whether judgments in collection suits obtained by Defendant are
                       void;




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                (iv)    whether Defendant's gains from unlicensed collection activities
                        should be disgorged;

                (v)     whether declaratory and/or injunctive relief are warranted to
                        address Defendant's unlicensed collection activities.

Moreover, where — as here — the predominant issues are legal in nature, class certification

is particularly appropriate. Ramos, 374 Mass. at 179-180. Finally, there is but a single

issue which differentiates class members in any respect, namely, the amount of damages

to which each class member is entitled. However, this is not a good reason for denying

certification. See Weld, 434 Mass. at 92 (necessity of individualized damages inquiries

"does not preclude class certification where all other requirements are met.").

        D.    Plaintiff's claims are typical.

        To satisfy the typicality requirement of Rule 23(a), Plaintiff must demonstrate "a

sufficient relationship
           relationship ..... .between
                                betweenthe
                                        theinjury
                                            injury to
                                                    to the
                                                        the named
                                                            named plaintiff and the conduct

affecting the class." Weld, 434 Mass. at 87. Thus, "[a] plaintiff representative normally

satisfies the typicality requirement with an allegation that the defendant acted

consistently toward [the representative] and the members of the putative class." Id. See

Adair v. Sorenson, 134 F.R.D.13, 17 (D. Mass. 1991)(claims typical "when the plaintiff's

injuries arise from the same event, practice or course of conduct of the defendant as do

the injuries which form the basis of the class claim"). Typicality does not require that the

claims of plaintiff and class members be identical; rather, a claim is considered typical

when the nature of the claim, judged from both a factual and a legal perspective, is such

that in litigating it the plaintiff can reasonably be expected to also advance the interests of

absent class members. General Telephone Co. of the Southwest v. Falcon, 457 U.S. 147,

156-157 (1982).


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        In the present case, the claims of the Plaintiff and all class members arise from the

same allegedly unlawful business practices of Defendant, and Plaintiff and class members

all seek similar relief. Accordingly, Plaintiff's
                                      Plaintiffs claim
                                                  claim is
                                                        is typical
                                                           typical of
                                                                   of those
                                                                      those of class members.

        E.    Plaintiff will adequately
                             adeguately and fairly represent class members.

        Rule 23(a) requires that "the representative parties will fairly and adequately

protect the interests of the class." Simply stated, this means that "[a] class representative

has the responsibility to protect the interests of all class members, and counsel for a class

has a continuing obligation to each class member." Reynolds v. City Express, Inc., 2014

WL 1758301 **13
             13(Mass.
                (Mass. Super.
                       Super. Jan.
                              Jan. 8,
                                   8, 2014).
                                      2014). This
                                             This element
                                                  element entails
                                                          entails consideration
                                                                  consideration of two

factors: (i) whether any conflicts exist between the plaintiff and the putative class, and

(ii) whether plaintiff's
             plaintiffs attorney
                         attorney is
                                   is sufficiently
                                      sufficiently qualified
                                                   qualified to
                                                             to serve
                                                                serve as class counsel. See

Andrews v. Bechtel Power Corp., 780 F.2d 124, 130 (1st
                                                  (1St Cir. 1985). The adequacy

requirement is met if the Court is satisfied that the attorney, together with the named

                                                                177 F.R.D. at 64.
plaintiff, will act diligently on behalf of the class. Duhaime, 177

        As explained above, Plaintiff
                            Plaintiffss claims
                                        claims and
                                               and the
                                                    the claims
                                                        claims of
                                                               of absent
                                                                  absent class
                                                                         class members

arise from the same business practice of Defendant,
                                         Defendant, and
                                                    and proof
                                                        proof of
                                                              of Plaintiff
                                                                 Plaintiffss claims will

establish Defendant's liability to the class; thus, there are no actual or potential conflicts

between Plaintiff and the other class members. And, Plaintiff's
                                                    Plaintiffs attorneys have substantial

experience in consumer and class action litigation and have been appointed by this Court

and others as class counsel in a number of cases, including cases alleging unlawful debt

                                               93A. I II
collection practices and violations of G.L. c. 93A.I

        Accordingly, the adequacy requirement is satisfied.

'"I See, e.g., Feuerstein v. Zwicker & Associates, P.C., Civil Action 04-11593 (D. Mass. Oct. 29, 2007);
                                       Associates, P.C.,
Smith v. J.A. Cambece Law Office, P.c., Civil Action No. 07-40144 (D. Mass. June 16, 2009); Garbee v.
 Cataldo Ambulance Service, Inc., Civil Action No. 09-2679 (Mass. Super. Aug. 1, 2012).

                                                     9
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       F. The requirements
              reguirements of Rule 23(b) are satisfied.

       Under Mass.. R. Civ. P. 23(b), case may be certified as a class action if the four

elements of Rule 23(a) are satisfied, and in addition:

               the Court finds that the questions of law or fact common to the
               members of the class predominate over any questions affecting
               only individual members, and that a class action is superior to
               other available methods for the fair and efficient adjudication of
               the controversy.

       (1) Predominance of common issues

       The predominance requirement entails "'a comparison between the common and

individual questions involved' in order to reach a determination as to whether the

common questions outweigh the individual." Sandoval v. M.J.F. Bowery Corp., 2011

WL 5517330*4 (Mass. Super. July 22, 2011), quoting Salvas v. Wal—Mart Stores,

Inc., 452 Mass. 337, 363 (2008). As has been recognized, "the inquiry does not require

that common questions dispose of the entire litigation;" rather, "the question is whether

the individual questions so inundate the common issues that a class action is no longer

desideratum—or even useful." Id. (citations and internal quotations omitted). Thus, the

predominance requirement is "readily met" in consumer cases involving a uniform

business practice. Duhaime,177 F.R.D. 54, 64 (D. Mass. 1997). Indeed, unfair debt

collection claims are particularly well-suited for class treatment. See Weiss v. Regal

Collections, 385 F.3d 337, 345 (3d Cir. 2004)( "[r]epresentative actions ... appear to be

fundamental to the statutory structure of the FDCPA"). Here, predominance clearly

exists because the merits of the claims, the circumstances giving rise to the claims, and

the method of proving damages are all identical.




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       (2) Superiority
           Superiority

       It is axiomatic that "[a] class action is the superior method of adjudication if it

maximizes judicial efficiency and grants court access to those plaintiffs who individually

would be unable to litigate their claims." Hiller v. DaimlerChrysler
                                                     DaimlerChryslerCorp.,
                                                                     Corp.,2007 WL

                                          SeePhillips
3260199 *3 (Mass. Super. Sept. 25, 2007). See PhillipsPetroleum
                                                       PetroleumCo.Co. v. Shutts,
                                                                    v. Shutts, 472 472

U.S. 797, 809 (1985)(class action "permit[s] the plaintiffs to pool claims which would be

                                         AmchemProducts,
uneconomical to litigate individually"); Amchem Products,  Inc.
                                                         Inc. v. v. Wind.sor,
                                                                 Windsor, 521 U.S. 591,

617 (1997)("[t]he policy of the very core of the class action mechanism is to overcome

the problem that small recoveries do not provide the incentive for any individual to bring

a solo action prosecuting his or her rights"). Here, a class action is clearly the superior

method of resolving the controversy because: (a) it will conserve judicial resources and

the resources of litigants; (b) it will eliminate the possibility of conflicting rulings arising

from multiple lawsuits; and (c) it will provide access to the courts for class members

who, because their claims have relatively low value, would not otherwise be likely to

seek relief. Moreover, there are no extraordinary management difficulties which would

render this action unsuitable for class action treatment.

                                          Conclusion

        For the above reasons, Plaintiff respectfully requests that this Honorable Court:

(i) enter and continue this motion until the parties have had sufficient time to conduct fact

and class discovery, all amendments to the pleadings have been completed, and the

parties have had an opportunity to fully brief all relevant issues, and then (ii) allow this

motion.




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                          Plaintiff, by his attorneys:




                          Kenneth D. Quat
                          BBO#408640
                          QUAT LAW OFFICES
                          929 Worcester Rd.
                          Framingham MA 01701
                          508-872-1261
                          ken@quatlaw.com




                          Josef
                          Josef q.Culik
                                   Culik
                                                         LIPV
                          BBO# .72665
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                          CULIK LAW, P.C.
                          18 Commerce Way, Suite 2850
                          Woburn MA 01801
                          617-830-1795
                          jculik@culiklaw.com




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Case 1:15-cv-14025-GAO Document 1-1 Filed 12/07/15 Page 29 of 29
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